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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

Dynamite Marketing, Inc.                    )
                                            )      Case No. 18-cv-7760
v.                                          )
                                            )      Judge: Hon. John J. Tharp
THE PARTNERSHIPS and                        )
UNINCORPORATED ASSOCIATIONS                 )      Magistrate: Hon. Young B. Kim
IDENTIFIED ON SCHEDULE “A”                  )
                                            )
                                            )


                             SATISFACTION OF JUDGEMENT

       Plaintiff, in accordance with FRCP 60(b)(5), having reached a post-default settlement

agreement with the Doe Defendants listed below:

 Doe    Store Name                                         Store ID
 40     oasisinternationalgroup                            53a43418d9113914ed7c76ed
 41     xianghuitechnologycoltd                            55939f1af702cb4056d49ebc
 44     etomalltechnologycoltd                             544f512f3dabbe774decc370
 45     sihengshangwuxinxizixunshanghaiyouxianggongsi      54acc809d630ed1ad298bc96
 50     bevisn                                             5791798a69a76c66e3cfac56
 55     gentleman_gary                                     56e271df278cda16867f73fe
 56     eofly                                              579f02683c28480f5476af44
 58     fashionline                                        56cc22bacaa89b3756f2caec
 59     passion_zone                                       56cd628a08dcdf13824fd234
 60     enjoytime1                                         56e23eb831dc81169ad5ff93
 70     naturalgarden                                      56ea4c9c37121068d2db7b4f
 72     2791383638                                         5715ed35ba0e2a5922b8075a
 75     nmdrv                                              570b66f93a698c33b37a0f72
 77     lifespring                                         5864c1fdafdcff4cb447bb0d
 84     babykingstar                                       57c513917919291c80604995
 87     suibianba678                                       5835426717dc62249a463cfa
 104    bigredangel                                        58d35ea0a9254d752d594722
 105    junstore                                           58f71b19d02377257ca7b76f
 108    sshijiu                                            5acc4f756be8732e454f3ef9
 116    thedenimshopuk                                     58d35c9899556a11a225eb25
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dismisses them from the suit without prejudice.

Dated this 17th Day of October 2019.        Respectfully submitted,


                                            By:         s/David Gulbransen/
                                                      David Gulbransen
                                                      Attorney of Record
                                                      Counsel for Plaintiff

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